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       1                     UNITED STATES BANKRUPTCY COURT
       2                     EASTERN DISTRICT OF CALIFORNIA
       3
       4   In re:                           )      Case No. 19-21640-B-11
                                            )
       5   DEBORA LEIGH MILLER-ZURANICH,    )      DC No. PLC-5
                                            )
       6                                    )
                               Debtor(s). )
       7   ________________________________ )
       8                 ORDER APPROVING EMPLOYMENT OF ATTORNEY
       9            An application to employ attorney pursuant to 11 U.S.C.
     10    § 327 has been made.   Based upon the application, the record, and
     11    the verified statement required by Bankruptcy Rule 2014(a), it
     12    appears that the attorney is eligible to be employed.
     13             IT IS ORDERED that the debtor is authorized to retain
     14    Peter L. Cianchetta as her attorney, subject to the following
     15    reasonable terms and conditions pursuant to 11 U.S.C. § 328(a):
     16             1.   No compensation is permitted except upon court
     17    order following application pursuant to 11 U.S.C. § 330(a).
     18             2.   Compensation will be at the "lodestar rate"
     19    applicable at the time that services are rendered in accordance
     20    with the Ninth Circuit decision in In re Manoa Fin. Co., 853 F.2d
     21    687 (9th Cir. 1988).   Guidance on evidence appropriate to support
     22    applications for compensation appears in In re Gianulias, 98 B.R.
     23    27 (Bankr. E.D. Cal.), aff'd, 111 B.R. 867 (E.D. Cal. 1989).
     24             3.   No hourly rate referred to in the application
     25    papers is approved unless unambiguously so stated in this order
     26    or in a subsequent order of this court.
     27             4.   All funds received by counsel in connection with
     28    this matter, regardless of whether they are denominated a
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       1   retainer or are said to be nonrefundable, are deemed to be an
       2   advance payment of fees and to be property of the estate except
       3   to the extent that counsel demonstrates, pursuant to the
       4   statement required by 11 U.S.C. § 329 filed before ten days after
       5   issuance of this order, that such funds were received as the
       6   reasonable value of actual prepetition services.
       7              5.     Funds that are deemed to constitute an advance
       8   payment of fees shall be maintained in a trust account maintained
       9   in an authorized depository, which account may be either a
     10    separate interest-bearing account or an attorney's trust account
     11    containing commingled funds.      Withdrawals are permitted only
     12    after approval of an application for compensation and after the
     13    court issues an order authorizing disbursement of a specific
     14    amount.
     15               6.     Monthly applications for interim compensation
     16    pursuant to 11 U.S.C. § 331 will be entertained.
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     18
                     August 28, 2019
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       1                           INSTRUCTIONS TO CLERK OF COURT
                                            SERVICE LIST
       2
                     The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:
       4   Peter L. Cianchetta
           8788 Elk Grove Blvd. Ste. 2A
       5   Elk Grove CA 95624
       6
           Robin S. Tubesing
       7   2500 Tulare St #1401
           Fresno CA 93721
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